     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 1 of 8

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 6

 7
                               UNITED STATES DISTRICT COURT
 8                            EASTERN DISTRICT OF CALIFORNIA

 9

10    MARK T. WILLIAMS,                           Case No.

11                     Plaintiff,                 COMPLAINT FOR DAMAGES

12           v.                                   1. VIOLATION OF THE TELEPHONE
                                                  CONSUMER PROTECTION ACT, 47 U.S.C.
13                                                §227 ET SEQ.
      GOLDMAN SACHS BANK USA a/k/a
14    MARCUS BY GOLDMAN SACHS,                    2. VIOLATION OF THE ROSENTHAL FAIR
                                                  DEBT COLLECTION PRACTICES ACT,
15                     Defendant.                 CAL. CIV. CODE §1788 ET SEQ.

16                                                DEMAND FOR JURY TRIAL

17

18                                           COMPLAINT

19          NOW comes MARK T. WILLIAMS (“Plaintiff”), by and through his attorneys, WAJDA
20   LAW GROUP, APC (“Wajda”), complaining as to the conduct of GOLDMAN SACHS BANK
21
     USA a/k/a MARCUS BY GOLDMAN SACHS (“Defendant”) as follows:
22
                                        NATURE OF THE ACTION
23
        1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection Act
24

25   (“TCPA”) under 47 U.S.C. § 227 et seq. and the Rosenthal Fair Debt Collection Practices Act

26   (“RFDCPA”) pursuant to Cal. Civ. Code §1788 et seq., for Defendant’s unlawful conduct.

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     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 2 of 8

 1                                        JURISDICTION AND VENUE
 2       2. This action arises under, and is brought, pursuant to the TCPA. Subject matter jurisdiction
 3
     is conferred upon this Court by 47 U.S.C. §227, 28 U.S.C. §§1331 and 1337, as the action arises
 4
     under the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant
 5
     to 28 U.S.C. §1367.
 6

 7       3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

 8   in the Eastern District of California and a substantial portion of the events, or omissions giving rise

 9   to the claims, occurred within the Eastern District of California.
10
                                                    PARTIES
11
         4. Plaintiff is a consumer, over the age of 18, and resides in Solano County, California.
12
         5. Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
13
         6. Defendant is engaged in the business of offering loans and collecting, or attempting to
14

15   collect, directly or indirectly, debts owed, or due, using the mail and telephone, from consumers

16   across the country, including consumers located in the State of California. Defendant is a
17   corporation organized under the laws of the State of New York with its principal place of business
18
     located at 200 West Street, New York, NY 10282.
19
         7. Defendant is a “person” as defined by 47 U.S.C. § 153(39).
20
         8. Defendant acted through its agents, employees, officers, members, directors, heirs,
21

22   successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times

23   relevant to the instant action.

24                                 FACTS SUPPORTING CAUSES OF ACTION
25       9. In 2018, Plaintiff obtained a personal loan, in the amount of $3,500.00, from Defendant to
26
     finance the purchase of personal goods and/or services.
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     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 3 of 8

 1       10. Thereafter, Plaintiff began falling behind on his scheduled payments to Defendant, thus
 2   incurring debt (“subject debt”).
 3
         11. Around May 2019, Plaintiff began receiving calls to his cellular phone, (707) XXX-2193,
 4
     from Defendant.
 5
         12. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and
 6

 7   operator of the cellular phone ending in 2193. Plaintiff is and always has been financially

 8   responsible for the cellular phone and its services.

 9       13. Defendant has primarily used the phone number (844) 627-2877 when placing calls to
10
     Plaintiff’s cellular phone. Upon belief, Defendant has used additional phone numbers as well.
11
         14. Upon information and belief, the above-referenced phone number, ending in 2877, is
12
     regularly utilized by Defendant during its debt collection activities.
13
         15. During answered calls from Defendant, Plaintiff experiences a noticeable pause, lasting a
14

15   handful of seconds in length, and Plaintiff has to repeatedly say “hello” before a live representative

16   begins to speak.
17       16. Furthermore, Defendant has also used pre-recorded messages when placing collection calls
18
     to Plaintiff’s cellular phone.
19
         17. Upon speaking with Defendant, Plaintiff was informed that Defendant was seeking to
20
     collect upon the subject debt.
21

22       18. Plaintiff explained his inability to address the subject debt.

23       19. On or about June 28, 2019, Plaintiff demanded that it cease calling him.

24       20. Despite Plaintiff’s demands, Defendant continued to relentlessly place phone calls to
25   Plaintiff’s cellular phone, and the calls are ongoing.
26
         21. Plaintiff has received not less than 150 phone calls from Defendant since demanding that it
27
     stop contacting him.
28
                                                         3
     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 4 of 8

 1      22. Frustrated over Defendant’s conduct, Plaintiff s was forced to retain counsel.
 2      23. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.
 3
        24. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not
 4
     limited to: invasion of privacy, aggravation that accompanies collection telephone calls, emotional
 5
     distress, increased risk of personal injury resulting from the distraction caused by the never-ending
 6

 7   calls, increased usage of his telephone services, loss of cellular phone capacity, diminished cellular

 8   phone functionality, decreased battery life on his cellular phone, and diminished space for data

 9   storage on his cellular phone.
10
                COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
11
        25. Plaintiff repeats and realleges paragraphs 1 through 24 as though fully set forth herein.
12
        26. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their
13
     cellular phone using an automatic telephone dialing system (“ATDS”) and pre-recorded messages
14

15   without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment

16   which has the capacity...to store or produce telephone numbers to be called, using a random or
17   sequential number generator; and to dial such numbers.”
18
        27. Defendant used an ATDS in connection with its communications directed towards
19
     Plaintiff’s cellular phone. During answered calls from Defendant, Plaintiff experienced a noticeable
20
     pause lasting a handful of seconds in length, and had to repeatedly say “hello” prior to being
21

22   connected with a live representative. The same is instructive that an ATDS was being utilized to

23   generate the calls. Moreover, the nature and frequency of Defendant’s contacts points to the

24   involvement of an ATDS.
25      28. Moreover, Defendant also used pre-recorded messages when placing collection calls to
26
     Plaintiff’s cellular phone.
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     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 5 of 8

 1       29. Defendant violated the TCPA by placing no less phone calls to Plaintiff’s cellular phone
 2   using an ATDS and pre-recorded messages without his consent. Any consent prior consent that
 3
     Plaintiff may have given Defendant was explicitly revoked by his demands that it cease contacting
 4
     him.
 5
         30. The calls placed by Defendant to Plaintiff were regarding business transactions and not for
 6

 7   emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).

 8       31. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff for

 9   at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA
10
     should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise
11
     entitled to under 47 U.S.C. § 227(b)(3)(C).
12
         WHEREFORE, Plaintiff, MARK T. WILLIAMS, respectfully requests that this Honorable
13
     Court enter judgment in his favor as follows:
14

15       a. Declaring that the practices complained of herein are unlawful and violate the
            aforementioned statutes and regulations;
16
         b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
17          to 47 U.S.C. §§ 227(b)(3)(B)&(C);
18
         c. Awarding Plaintiff costs and reasonable attorney fees;
19
         d. Enjoining Defendant from further contacting Plaintiff; and
20
         e. Awarding any other relief as this Honorable Court deems just and appropriate.
21

22
            COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
23
         32. Plaintiff restates and realleges paragraphs 1 through 24 as though fully set forth herein.
24
         33. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
25
         34. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code § 1788.2(d)
26

27   and (f).

28       35. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
                                                        5
     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 6 of 8

 1          a. Violations of RFDCPA § 1788.17
 2      36. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17, states that “Notwithstanding any other
 3
     provision of this title, every debt collector collecting or attempting to collect a consumer debt shall
 4
     comply with the provisions of Section 1692b to 1692j [of the Fair Debt Collection Practices Act
 5
     (“FDCPA”)], inclusive of, and shall be subject to the remedies in Section 1692k of, Title 15 of the
 6

 7   United States Code.”

 8                       i. Violations of the FDCPA §1692d and §1692d(5)

 9      37. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in
10
     any conduct the natural consequence of which is to harass, oppress, or abuse any person in
11
     connection with the collection of a debt.”
12
        38. The FDCPA, pursuant to 15 U.S.C. §1692d(5) further prohibits, “causing a telephone to
13
     ring or engaging any person in telephone conversation repeatedly or continuously with intent to
14

15   annoy, abuse, or harass any person at the called number.”

16      39. Defendant violated §1692 d and d(5) when it repeatedly called Plaintiff after being notified
17   to stop. This behavior of systematically calling Plaintiff’s phone on a systematic basis in spite of
18
     his demands was harassing and abusive. The frequency and nature of the calls shows that Defendant
19
     willfully ignored Plaintiff’s pleas with the goal of annoying and harassing Plaintiff.
20
        40. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant
21

22   knew that its conduct was inconvenient and harassing to Plaintiff.

23                          ii. Violations of the FDCPA § 1692e

24      41. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
25   deceptive, or misleading representation or means in connection with the collection of any debt.”
26
        42. In addition, this section enumerates specific violations, such as:
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     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 7 of 8

 1               “The use of any false representation or deceptive means to collect or attempt to
                 collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
 2               §1692e(10).

 3       43. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or
 4
     attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop contacting
 5
     him, Defendant continued to contact Plaintiff. Instead of putting an end to this harassing behavior,
 6
     Defendant placed repeated calls to Plaintiff’s cellular phone in a deceptive attempt to force Plaintiff
 7

 8   to answer its calls and ultimately make a payment. Through its conduct, Defendant misleadingly

 9   represented to Plaintiff that it had the legal ability to contact him after he explained that he could

10   not pay.
11                           iii. Violations of FDCPA § 1692f
12
         44. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or
13
     unconscionable means to collect or attempt to collect any debt.”
14
         45. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a
15

16   debt by repeatedly calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff into

17   payment by placing voluminous phone calls without his permission is unfair and unconscionable

18   behavior. These means employed by Defendant only served to worry and confuse Plaintiff.
19
         46. Defendant willfully and knowingly violated the RFDCPA. Defendant continued to call
20
     Plaintiff’s cellular phone after Plaintiff specifically asked it to stop contacting him. Defendant’s
21
     willful and knowing violations of the RFDCPA should trigger this Honorable Court’s ability to
22
     award Plaintiff statutory damages of up to $1,000.00, as provided under Cal. Civ. Code §
23

24   1788.30(b).

25       47. As plead in paragraphs 22 through 24, Plaintiff has been harmed and suffered damages as
26   a result of Defendant’s illegal actions.
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     Case 2:19-cv-01694-JAM-EFB Document 1 Filed 08/29/19 Page 8 of 8

 1           WHEREFORE, Plaintiff, MARK T. WILLIAMS, respectfully requests that this Honorable
 2   Court enter judgment in his favor as follows:
 3
        a. Declare that the practices complained of herein are unlawful and violate the aforementioned
 4         statute;

 5      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
 6      c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code §
 7         1788.30(b);

 8      d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ. Code
           § 1788.30(c);
 9
        e. Enjoining Defendant from further contacting Plaintiff; and
10

11      f. Award any other relief as the Honorable Court deems just and proper.

12
        Dated: August 29, 2019                       Respectfully submitted,
13
                                                     By: /s/ Nicholas M. Wajda
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